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                                                                                         U S DISTRICT COURT
                                                                                     EASTERN DISTRICT ARKANSAS


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                               UNITED STA TES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                                                                                            DEPCLERK

   THOMAS AND GINGER BLACKMON, on
   behalf of themselves and their minor children
   GRACE AND CLARK BLACKMON,

          Plaintiffs,

   V.                                                            Case No.

   BLACKBERRY FARM, LLC, TEXTRON
   SPECIALIZED VEHICLES d/b/a E-Z GO,
   and MIKEY'S MOTORS, LLC

           Defendants.                                        This cue auigned to District Judge  MooA.y
                                                              and lo Mlglltma Judge        Ke LNI"}=

                                              COMPLAINT




           COMES NOW the Plaintiffs Thomas and Ginger Blackmon on behalf of themselves and

   their minor children Grace and Clark Blackmon and for their complaint against Defendants

   Blackberry Farm, LLC, Textron Specialized Vehicles d/b/a E-Z Go, and Mikey's Motors, LLC,

   allege as follows:



                                    JURISDICTION AND VENUE

           l.      This Court has subject matter jurisdiction over this civil state law claim as complete

   diversity of citizenship exists and the amount in controversy well exceeds the necessary sum for

   federal jurisdiction.

           2.      This is a dispute between citizens of Arkansas, Tennessee, Delaware, and Georgia.




Case 3:21-cv-00294-DCLC-HBG Document 1 Filed 05/27/21 Page 1 of 6 PageID #: 1
            3.      Venue is proper in this District in that the Plaintiffs each reside within this judicial

    district, each Defendant committed wrongs against each Plaintiff residing here, and each

    Defendant derives substantial revenue from citizens of the State of Arkansas and has minimum

    contacts in the State of Arkansas, and thus, may be sued here consistently with due process.



                                                  PARTIES

            4.      Plaintiffs Thomas and Ginger Blackmon bring this action on behalf of themselves

    and their minor children Grace and Clarke Blackmon. Each of them are citizens of Arkansas and

    reside within this judicial district.

            5.      Defendant Blackberry Farm, LLC ("Blackberry") is a citizen of Tennessee and has

    a principal place of business at 1471 W. Millers Cove Rd., Walland, Tenessee 37886-2649. Its

    Registered Agent for service of process is David Wilson Long, 1111 N. Northshore Dr., Knoxville,

    TN 37919-4097.       Blackberry is a luxury resort located about 27 miles south of Knoxville,

    Tennessee. It serves paying business invitee guests having citizenship in the State of Arkansas,

    including the Plaintiffs, and derives significant income from the State of Arkansas. For these

    reasons, this Court has personal jurisdiction over Blackberry.

            6.      Defendant Textron Specialized Vehicles, Inc. d/b/a E-Z Go ("E-Z Go") is a citizen

    of both Georgia and Delaware having been organized in Delaware, but having a principal place of

    business at 1451 Marvin Griffin Road, Augusta, Georgia 30906. Its Registered Agent for service

    of process is CT Corporation System, 289 S. Culvery St., Lawrenceville, GA 30046-4805. E-Z

    Go negligently manufactured and designed the golf cart that caused substantial injuries to

    Plaintiffs, which reside within this judicial district, and receives substantial revenue from citizens

    of the State of Arkansas. For these reasons, this Court has personal jurisdiction over E-Z Go.




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Case 3:21-cv-00294-DCLC-HBG Document 1 Filed 05/27/21 Page 2 of 6 PageID #: 2
           7.      Defendant Mikey's Motors, LLC ("Mikey's") is a citizen of Tennessee, has a

   principal place of business at 2118 N. Thompson Ln, Murfreesboro, Tennessee 37129-6025, and

   may be served with process at the same address. Mikey's sells and services golf carts, and further,

   based upon information and belief, sells golf carts to citizens of the State of Arkansas and derives

   significant revenues from the State of Arkansas. For these reasons, this Court has personal

   jurisdiction over Mikey's.



                                      FACTUAL ALLEGATIONS

           8.      In late March of 2021, the Blackmon family reserved a house and were paid guests

   of Blackberry Farm, which is owned and operated by Blackberry.

           9.      With Blackberry's accommodation of the Blackmons, Blackberry also provided a

    six-seater golf cart ("Cart") for them to use while at Blackberry's resort.

            10.    On or about March 22, 2021, Ginger Blackmon was driving the Cart with her

    children Grace and Clark as passengers, and also with Susan Reynolds, Sophie Reynolds and

    Lovey Reynolds as passengers.

            11.    Ms. Blackmon was driving the cart down a steep grade when the speed limiter

    system and braking system failed to slow and stop the vehicle, which caused the cart to wreck and

    cause substantial direct physical and emotional injuries to Ginger, Grace, and Clark Blackmon.

            12.    E-Z Go manufactured and designed the Cart, including its speed and braking

    systems.

            13.    Mikey's sold the Cart to Blackberry and modified its braking system before

    delivering it to Blackberry, and apparently, at Blackberry's instruction.




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Case 3:21-cv-00294-DCLC-HBG Document 1 Filed 05/27/21 Page 3 of 6 PageID #: 3
                                                 COUNTI

                                             NEGLIGENCE


           37.     Plaintiffs re-allege and incorporate the paragraphs above.

           38.     Blackberry owed a duty to Plaintiffs as its business invitees to provide the safe

    accommodations, including the Cart, but breached its duty by providing the Cart in an unsafe

    condition, because its speed and braking systems were subject to and did in fact fail on

    Blackberry's hilly and maintained terrain.

           39.     EZ-Go owed a duty to Plaintiffs as users of the Cart, which it manufactured,

    designed and sold, but breached its duty by providing the Cart in an unsafe condition, including

    its faulty speed and braking systems were subject to and did in fact fail.

           40.     Mikey's owed a duty to Plaintiffs as users of the Cart, which it sold and modified,

    but breached its duty by providing the Cart in an unsafe condition, including its faulty speed and

    braking systems were subject to and did in fact fail.

           41.     All of Defendants' breaches, as detailed above proximately caused Plaintiffs to

    suffer substantial personal and emotional injuries, pain and suffering, and loss of consortium.



                                            JURY DEMAND

           Plaintiff demands a trial by jury of twelve on all issues so triable.




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Case 3:21-cv-00294-DCLC-HBG Document 1 Filed 05/27/21 Page 4 of 6 PageID #: 4
                                         PRAYER OF RELIEF

          WHEREFORE, Plaintiffs pray for Judgment in their favor and recovering compensatory

   damages, damages for permanent and temporary physical and emotional injuries, loss of

   consortium, other damages, punitive damages for actions taken with malice, jointly and severally,

   and their attorneys' fees and costs, and all other just and appropriate relief.

   DATE: May 27, 2021                             Respectfully,

                                                  POYNTER LAW GROUP




                                                  Scott Poynter


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Case 3:21-cv-00294-DCLC-HBG Document 1 Filed 05/27/21 Page 5 of 6 PageID #: 5
                                            VERIFICATION

           Undersigned Plaintiffs and their counsel hereby verify that the facts asserted above are true
    and accurate to the best of their knowledge.



                                                  & . c k m o n , on behalf of himself
                                                  and his Minor Children




                                                  Scott Poynter,.Plaintiffs' Counsel




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Case 3:21-cv-00294-DCLC-HBG Document 1 Filed 05/27/21 Page 6 of 6 PageID #: 6
